           Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 1 of 13




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

K. SCOTT STOKES,                        )
                                        )
      Plaintiff,                        )
                                        )       CIVIL ACTION
v.                                      )
                                        )       FILE No. _____________________
FRD MANSELL SQUARE, LLC,                )
                                        )
      Defendant.                        )

                                    COMPLAINT

      COMES NOW, K. SCOTT STOKES, by and through the undersigned

counsel, and files this, his Complaint against Defendant FRD MANSELL

SQUARE, LLC pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                           JURISDICTION AND VENUE

      1.       This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.       Venue is proper in the federal District Court for the Northern District


                                            1
           Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 2 of 13




of Georgia, Atlanta Division.

                                      PARTIES

      3.       Plaintiff K. SCOTT STOKES (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Roswell,

Georgia (Fulton County).

      4.       Plaintiff is a quadriplegic and is disabled as defined by the ADA.

      5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

      6.       Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.       Defendant    FRD      MANSELL          SQUARE,     LLC     (hereinafter

“Defendant”) is a Delaware limited liability company that transacts business in the

state of Georgia and within this judicial district.

      8.       Defendant may be properly served with process via its registered

agent for service, to wit: Paracorp Incorporated, 279 W. Crogan Street,

Lawrenceville, Georgia, 30046.

                            FACTUAL ALLEGATIONS

      9.       On or about April 29, 2021, Plaintiff was a customer at “Jimmy

John's,” a business located at 875 Mansell Road, Unit A-1, Roswell, Georgia


                                           2
         Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 3 of 13




30076.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately three (3) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business(es) located at 875 Mansell Road,

Unit A-1, Roswell, Georgia 30076 (Fulton County Property Appraiser’s parcel

number 12 218005050458), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods


                                          3
        Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 4 of 13




and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

                                           4
        Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 5 of 13




      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.


                                          5
        Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 6 of 13




      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.


                                           6
           Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 7 of 13




      30.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.       The total number of accessible parking spaces on the Property

               is inadequate, in violation of section 208.2 of the 2010 ADAAG

               standards. (There are a total of 3 (three) marked and signed

               accessible parking spaces, but in excess of 75 (seventy-five)

               total parking spaces, and thus 4 (four) accessible parking spaces

               are required).

      b.       The accessible parking space on the Property that is situated at

               the western edge of the Property has an inverted slope in excess

               of 1:48 (one to forty-eight), in violation of section 502.4 of the

               2010 ADAAG standards.

      c.       The access aisle adjacent to the accessible parking space

               Property that is situated at the western edge of the Property

               does not properly adjoin an accessible route, in violation of

               section 502.3 of the 2010 ADAAG standards. Further, the most


                                            7
     Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 8 of 13




         proximate ramp to this accessible parking space is situated

         before a standard parking space, and thus ramp is obstructed

         when vehicles are parked in such standard space, resulting in

         the ramp’s width being below the minimum 36” (thirty-six

         inches), in violation of sections 403.5.1 and 502.7 of the 2010

         ADAAG standards.

d.       The signage for the accessible parking space on the Property

         that is situated at the western side of the center of the Property

         is not installed at a permissible height, in violation of section

         502.6 of the 2010 ADAAG standards.

e.       The access aisle adjacent to the accessible parking space

         Property that is situated at the western side of the center of the

         Property does not properly adjoin an accessible route, in

         violation of section 502.3 of the 2010 ADAAG standards.

         Further, the most proximate ramp to this accessible parking

         space is situated before a standard parking space, and thus ramp

         is obstructed when vehicles are parked in such standard space,

         resulting in the ramp’s width being below the minimum 36”

         (thirty-six inches), in violation of sections 403.5.1 and 502.7 of


                                      8
     Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 9 of 13




         the 2010 ADAAG standards.

f.       There is broken pavement and excessive vertical rises at the

         base of the accessible ramp that is most proximate to the

         accessible parking space that is situated at the western center of

         the Property, in violation of section 405.7 of the 2010 ADAAG

         standards. Portions of the running slope of this ramp (closest to

         its landing) have a slope exceeding 1:10 (one to ten), in

         violation of section 405.2 of the 2010 ADAAG standards.

g.       The signage for the accessible parking space on the Property

         that is situated at the eastern side of the center of the Property is

         not installed at a permissible height, in violation of section

         502.6 of the 2010 ADAAG standards.

h.       The access aisle adjacent to the accessible parking space on the

         Property that is situated at the eastern side of the center of the

         Property is not level due to the presence of a ramp within the

         boundaries of said access aisle, in violation of section 502.4 of

         the 2010 ADAAG standards. The side flares of this ramp also

         protrude into the boundaries of the adjacent accessible parking

         space, in violation of section 502.4 of the 2010 ADAAG


                                       9
       Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 10 of 13




             standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle while on the

Property, and more difficult and dangerous for Plaintiff to utilize the ramps

servicing the Property.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily


                                         10
        Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 11 of 13




achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to


                                          11
       Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 12 of 13




grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: November 1, 2021.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich
                                      Georgia Bar No. 242240
                                      The Law Office of Craig J. Ehrlich, LLC
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                                      Atlanta, Georgia 30306

                                        12
        Case 1:21-cv-04506-SCJ Document 1 Filed 11/01/21 Page 13 of 13




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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




                                      13
